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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 IN RE:                                                                                Chapter 7
                                                                         Case No. 25-31019-KAC
 John Thomas Sharkey
                         Debtor

                      NOTICE OF HEARING AND MOTION
             FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

TO: The Debtor and the other entities specified in the applicable Federal Rules of Bankruptcy
Procedure and Local Rule 9013-2:

       1)     Citizens Bank, N.A. (“Movant”) hereby moves this Court for the relief requested
below and gives notice of hearing.

        2)     The Court will hold a hearing on this motion on Wednesday, June 11, 2025 at
1:30 o'clock p.m., or as soon thereafter as counsel can be heard, before the Honorable Katherine
A. Constantine, in Courtroom 8 West, 300 South Fourth Street, Minneapolis, MN 55415.

        3)     Any response to this motion must be filed and delivered no later than Wednesday,
June 4, 2025, which is seven (7) days before the time set for the hearing (including Saturdays,
Sundays, and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY
FILED, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION
WITHOUT A HEARING.

        4)     This court has jurisdiction over this motion pursuant to 28 U.S.C. §§157 and
1334, Fed. R. Bankr. P. 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The
petition commencing this chapter 7 case was filed on April 8, 2025. The case is now pending in
this court.

         5)     This motion arises under 11 U.S.C. § 362 and Fed. R. Bankr. P. 4001. This
motion is filed under Fed. R. Bankr. P. 9014 and Local Rules 9013-1 - 9019-1. Movant requests
relief from the automatic stay with respect to property having an address of 1105 Pioneer Trail,
Bayport, MN 55003 (the “Property”) subject to a lien. Movant requests said relief be effective
immediately notwithstanding Fed. R. Bankr. P. 4001(a)(4). The facts and circumstances
supporting this Motion are set forth in the Affidavit in Support of Motion for Relief from
Automatic Stay filed contemporaneously herewith (the “Affidavit”).

        6)      The Debtor has executed and delivered or is otherwise obligated with respect to
that certain promissory note in the original principal amount of $331,705.00 (the “Note”). A
copy of the Note is attached to the Affidavit as Exhibit A. Movant is an entity entitled to enforce
the Note.
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        7)      Pursuant to that certain Mortgage dated January 5, 2017, and recorded on January
12, 2017, in the Office of the Washington County Recorder as Document No. 4099084, (the
"Mortgage"), all obligations (collectively, the “Obligations”) of the Debtor under and with
respect to the Note and the Mortgage are secured by the Property. A copy of the Mortgage is
attached to the Affidavit as Exhibit B.

        8)      Debtor executed a promissory note secured by a mortgage or deed of trust. The
promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly
or through an agent, has possession of the promissory note. Creditor is the original mortgagee or
beneficiary or the assignee of the mortgage or deed of trust.

       9)      All rights and remedies under the Mortgage have been assigned to the Movant
pursuant to that certain assignment of mortgage, a copy of which is attached to the Affidavit as
Exhibit C.

      10)    The legal description of the Property is: Lot 9, Block 2, Inspiration, Washington
County, Minnesota.

       11)     As of May 7, 2025, the unpaid principal balance of the loan is $287,826.21,
together with accrued interest, costs and fees (if any) in the amount of $4,006.97, for a total
payoff amount of $291,833.18.

        12)     In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $1,225.00 in legal fees and $199.00 in costs. Movant reserves all rights to seek an
award or allowance of such fees and expenses in accordance with applicable loan documents and
related agreements, the Bankruptcy Code and otherwise applicable law.

       13)     The “Current Default Amount” as defined in Local Form 4001-1 is $6,219.88.

        14)    The value of the Property as scheduled by the Debtor is $550,000.00. The current
tax-assessed value of the Property is $587,200.00.

      15)      Upon information and belief, the encumbrances on the Property listed in the
Schedules or otherwise known, including but not limited to the encumbrances granted to
Movant, listed are:

               a) Movant: $291,833.18
               b) DRB 24 LLC: $330,000.00
               c) DRB 24 LLC: $100,000.00
               d) John and Joan Neumiller: $311,130.46
               e) Secretary of Housing and Urban Development: $51,102.00
               f) Secretary of Housing and Urban Development: $40,064.83


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       16)    Cause exists for relief from the automatic stay for the following reasons:

              a) Movant's interest in the property is not adequately protected; and

              b) Pursuant to 11 U.S.C. §362(d)(2)(A), Debtor has no equity in the Property;
                 and pursuant to §362(d)(2)(B), the Property is not necessary for an effective
                 reorganization.

        WHEREFORE, Movant, by its undersigned attorney, moves the Court for an order that the
automatic stay provided by 11 U.S.C. § 362(a) be terminated so to permit the Movant to exercise
its remedies under Minnesota state law, and for such other relief as may be just and equitable.



 Dated: May 20, 2025                         By: /s/ Michael V Schleisman
                                                  HALLIDAY, WATKINS & MANN, P.C.
                                                  Michael V. Schleisman
                                                  Attorney for Movant
                                                  1333 Northland Drive, Suite 205
                                                  Mendota Heights, MN 55120
                                                  801-355-2886
                                                  michael@hwmlawfirm.com
                                                  Attorney ID # 0394992




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                         EXHIBIT “B”
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                         EXHIBIT ''D''
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                                                                               UNITED STATES BANKRUPTCY COURT
                                                                                      DISTRICT OF MINNESOTA
                                                       In re: John Thomas Sharkey                                                                 Case No. 25-31019 KAC
                                                              Debtor.
                                                                                           LOAN HISTORY
Begin loan history from the date of the first default related to the current default amount that is claimed in the motion.
                                                                      CHARGES

                          Date to which               Amount          Monthly Amount
Date Payment Date Payment payment applied             rec'd from      Due: Principal +   Monthly Amount Amount Due: Late Amount Due:
Due            Received   (mo/yr)                     Debtor(s)       Interest           Due: Escrow      Fees           Other Charges* Description of Charge
      4/1/2025                                                                 $1,841.14        $1,268.80
      5/1/2025                                                                 $1,841.14        $1,268.80


TOTALS                                                        $0.00          $3,682.28          $2,537.60               $0.00            $0.00
                                                      (a)             (b)                (c)                (d)                 (e)

*Any "Other Charge" must be described, itemized by amount and allowed under Note and/or mortgage (ie inspection fee, appraisal fee, insurance, taxes, etc.)

Default Amount Claimed in the Motion                                                                                                  $6,219.88
Attorneys' fees and filing fee for the motion, if allowed under Note and/or Mortgage and sought by                                    $1,424.00
Escrow Balance (amount held for payment of taxes, insurance, etc.)                                                                        $0.00
Suspense Account Balance (amount of un-applied payments)                                                                                  $0.00
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA
 IN RE:                                                                                 Chapter 7
                                                                          Case No. 25-31019-KAC
 John Thomas Sharkey
                          Debtor

                        MEMORANDUM IN SUPPORT OF MOTION
                         FOR RELIEF FROM AUTOMATIC STAY

       Citizens Bank, N.A. (Movant) submits this memorandum of law in support of its motion

for relief from the stays in the above-entitled matter.

                                              FACTS

       Movant holds a valid, duly perfected mortgage on Property owned by Debtor. Mortgage

payments are delinquent with respect to the months of April 1, 2025 to May 1, 2025 in the

amount of $6,219.88.

       The value of the Property as scheduled by the Debtor is $550,000.00. The current tax-

assessed value of the Property is $587,200.00. The total mortgage debt of Movant’s Mortgage is

$291,833.18. That upon information and belief, the following holds junior liens on the subject

property: DRB 24 LLC in the amount of $330,000.00 and $100,000.00, John and John Neumiller

in the amount of $311,130.46, and Secretary of Housing and Urban Development in the amount

of $51,102.00 and $40,064.83.

                                           ARGUMENT

       Under §362(d)(1) of the Bankruptcy Code, relief from the automatic stay shall be granted

upon request of a creditor "for cause, including the lack of adequate protection of an interest in

property of such [creditor]." 11 U.S.C. §362(d)(1).

       Debtor has otherwise failed to provide Movant with adequate protection of its interest in


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the Property. Such circumstances constitute cause, within the meaning of §362(d)(1), justifying

relief from the stay. In Re Tainan, 48 B.R. 250 (Bkrtcy E.D. Pa. 1985); In Re Quinlan, 12 B.R.

516 (Bkrtcy. W.D. Wis. 1981).

       Under §362(d)(2), where Debtor does not have any equity in the property and the

property is not necessary for an effective reorganization, the automatic stay should be lifted.

Where there exists no equity in the property that is the subject of a motion for relief from stay, it

is incumbent upon a debtor to make a showing that the property is necessary to an effective

reorganization in order to successfully defend against the motion. In re Embassy Enterprises of

St. Cloud, 125 B.R. 552, 554 (Bankr. D. Minn. 1991). Martens, supra, at 398.

                                          CONCLUSION

       Accordingly, Movant is entitled to an order terminating the stays of 11 U.S.C. §362(a)

and authorizing it to foreclose its mortgage on the Property.



 Dated: May 20, 2025                           By: /s/ Michael V Schleisman
                                                    HALLIDAY, WATKINS & MANN, P.C.
                                                    Michael V. Schleisman
                                                    Attorney for Movant
                                                    1333 Northland Drive, Suite 205
                                                    Mendota Heights, MN 55120
                                                    801-355-2886
                                                    michael@hwmlawfirm.com
                                                    Attorney ID # 0394992




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 IN RE:                                                                                Chapter 7
                                                                         Case No. 25-31019-KAC
 John Thomas Sharkey
                         Debtor(s)

                 UNSWORN DECLARATION FOR PROOF OF SERVICE

       The undersigned, employed by HALLIDAY, WATKINS & MANN, P.C., attorneys
licensed to practice in this Court, declare that on May 21, 2025 I served the annexed: a) Notice of
Hearing and Motion for Relief from Stay, b) Affidavit in Support of Motion for Relief from Stay,
c) Memorandum of Law, and d) proposed Order for Relief to each person referenced below, a
copy thereof by enclosing the same in an envelope with first class postage prepaid, addressed to
each of them at their last known address as follows:

John Thomas Sharkey
1105 Pioneer Trail
Bayport, MN 55003

And delivered by U.S. Certified mail and deposited in the post office at St. Paul, Minnesota
addressed to each of them as follows:

DRB 24 LLC
Attn Managing Agent David R Busch
1020 Davern St
Saint Paul, MN 55116

John and Joan Neumiller
CO CREIG ANDREASEN, ESQ / AVISEN LEGAL PA
901 MARQUETTE AVE S STE 1675
Minneapolis, MN 55402

Attorney General of the United States, U.S. Dept. of Justice
U.S. Department of Housing and Urban Development
950 Pennsylvania Ave. N.W.
Washington, D.C. 20530

United States Attorney – District of Minnesota
U.S. Department of Housing and Urban Development
Attn: Civil Process Clerk
300 S 4th Street, Suite 600


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Minneapolis, MN 55415

U.S. Department of Housing and Urban Development
451 Seventh Street S.W.
Washington, DC 20410

U.S. Department of Housing and Urban Development
77 West Jackson Boulevard
Chicago, IL 60604

And delivered by e-mail notification under CM/ECF on the date e-filed with the Court to each of
them as follows:

Nauni Jo Manty, Chapter 7 Trustee
US Trustee
John D. Lamey, III, Debtor Attorney

and this notice constitutes service or notice pursuant to Local Rule 9006-1(a).

       And I declare, under penalty of perjury, that the foregoing is true and correct.


Dated: May 21, 2025                                  Signed: /s/ Avery Merrill




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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

 IN RE:                                                                                Chapter 7
                                                                         Case No. 25-31019-KAC
 John Thomas Sharkey
                         Debtor

                        ORDER GRANTING RELIEF FROM STAY

       This case is before the court on the motion of Citizens Bank for relief from the automatic
stay imposed by 11 U.S.C. § 362(a).

       Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to
warrant relief.

       IT IS ORDERED:

          1)    The motion for relief from stay is granted as follows.


          2)    The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that the
                movant may exercise its rights and remedies under applicable nonbankruptcy
                law with respect to the following property:

                Lot 9, Block 2, Inspiration, Washington County, Minnesota.


          3)    Notwithstanding Fed. R. Bankr. P. 4001(a)(4), this order is effective
                immediately.




 Dated:                                           _______________________________
                                                  United States Bankruptcy Judge




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